On Fri, Oct 18, 2019 at 11:37 AM Kraehe, George (USANM) <George.Kraehe@usd )v> wrote:

) obligation to speak with

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Case 1:18-cr-02945-WJ Document 465-4 Filed 10/17/22 Page 2 of 3

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defense counsel or investigators unless compelled to do so. Apparently, Sheriff Hogrefe does
not want to talk to defense counsel or your investigators about the case without being
compelled to so. That’s his decision, and | do not believe it is appropriate for me to influence
him one way or another.

Thanks.

v/r

George

George C. Kraehe
Assistant U.S. Attorney
Anti-Terrorism Advisory Council Coordinator

District of New Mexico

201 3 Street NW, Suite 900
Albuquerque, NM 87102
Phone: (505) 224-1472

Cell: (505) 350-8334

From: Ryan Villa <ryan@rjvlawfirm.com>

Sent: Friday, October 18, 2019 8:50 AM

To: Kraehe, George (USANM) <GKraehe @usa.doj.gov>; Brawley, Kimberly (USANM)
<KBrawley@usa.doj.gov>

Subject: Fwd: Activity in Case 1:18-cr-02945-W5J USA v. Leveille et al Order

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Case 1:18-cr-02945-WJ Document 465-4 Filed 10/17/22 Page 3 of 3

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George and Kim,

On a separate note, George did you speak to Sheriff Hogrefe?

Thanks

Ryan J. Villa

The Law Office of Ryan J. Villa
2501 Rio Grande Blvd NW Suite A
Albuquerque, NM 87104

Office: 505-639-5709

Fax: 505-433-5812

Email: ryanQ@rjviawfirm.com

ana-ae=-= Forwarded message -------—

From: <cmecfbb@nmd.uscourts.gov>

Date: Thu, Oct 17, 2019 at 2:14 PM

Subject: Activity in Case 1:18-cr-02945-WJ USA v. Leveille et al Order
To: <cmecfto@nmd.uscourts.gov>

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